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 1                                  SUMMARY OF THE CASE
 2          1.     Starting on the day before Thanksgiving 2013, and for 19 days after, the
 3    debit and credit card information of 40 million Target customers was stolen from Targets
 4    in-store credit and debit card processing system. Target later announced on January 10,
 5    2013 that the breach also involved a second group which contained the names, mailing
 6    addresses, phone numbers or email addresses of up to 70 million people; therefore as
 7    many as 110 million people are believed to have had their personal information taken
 8    from Target. After the data breach, customers’ debit and credit card information quickly
 9    flooded the black market, sold in batches by the million resulting in fraudulent charges
10    and identity theft for unsuspecting consumers. Plaintiff Westmoreland’s bank informed
11    her that her data was compromised in the Target breach and then 17 lines of credit and
12    two debit cards were opened in her name. Likewise, Plaintiff Dorobiala had over $600 in
13    unauthorized charges on his credit card and had to change his debit and card numbers and
14    subscribe to a paid credit monitoring service.
15          2.     As widely reported by the media and experts in the field, Target failed to
16    exercise reasonable security precautions and failed to comply with industry standards for
17    merchants that process debit and credit card information. Had Target had been
18    compliant with basic industry standards it would have prevented, or much sooner
19    detected the data breaches that compromised the security of as many as 40 million debit
20    and credit card accounts over a period of 19 days. Plaintiffs bring this class action
21    lawsuit on behalf of a nationwide class of Target customers against Target for failing to
22    adequately safeguard its customers’ credit and debit card information.
23                                            PARTIES
24          3.     Plaintiff Thomas Dorobiala is a resident of Riverside County, California.
25          4.     Plaintiff Robin Westmoreland is a resident of Kings County, California.
26          5.     Defendant Target Corporation is a Minnesota corporation with its principal
27    place of business at 1000 Nicollet Mall, Minneapolis, Minnesota 55403. Target is the
28


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 1    second largest general merchandise retailer in the Unites States, with 1,797 stores in the
 2    United States, and 257 stores in California alone.
 3                                     JURISDICTION AND VENUE
 4          6.       This Court has original jurisdiction pursuant to the Class Action Fairness
 5    Act, 28 U.S.C. § 1332(d), because (a) at least one member of the putative class is a
 6    citizen of a state different from Defendant, (b) the amount in controversy exceeds
 7    $5,000,000, exclusive of interest and costs, (c) the proposed class consists of more than
 8    100 class members, and (d) none of the exceptions under the subsection apply to this
 9    action.
10          7.       Venue is proper in this District under 28 U.S.C. § 139l(b) because a
11    substantial part of the events giving rise to Plaintiffs’ Complaint occurred in this District.
12                             COMMON FACTUAL ALLEGATIONS
13          8.       On December 18, 2013 reporter Brian Krebs announced that he had learned
14    from confidential credit card issuer sources (credit card issuers are entities such as banks
15    and credit unions that issue credit cards to their customers) that Target’s data had been
16    breached. Target confirmed the breach on December 19, 2013 and admitted that the 40
17    million debit and credit card accounts of Target customers who shopped at Target from
18    November 27, 2013 to December 15, 2013 had been stolen. Target stated in later
19    communications that breach was caused from malware on its vulnerable point of sale
20    system that includes the debit and credit card readers where customers scan their cards to
21    make purchases. Malware is software, such as computer viruses, that can be used to gain
22    access to computer systems, including point of sale systems, and gather valuable private
23    information.
24          9.       The people who breached Target’s system took “track data” that is stored on
25    the magnetic strip of the card swiped when a customer makes a purchase. Track data
26    includes customer names, card numbers, card expiration dates, and CVV codes (security
27    codes that are stored in the magnetic strip of the card). Once someone has track data
28


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 1    from a credit card or debit card they can create new cards and make fraudulent purchases
 2    at stores.
 3           10.   On December 20, 2013, the day after Target admitted to the data breach,
 4    Brian Krebs reported that debit and credit cards stolen in the Target data breach had
 5    flooded the black market and were being sold in groups of a million cards and were
 6    selling for approximately $20 to $100 per card. One fraud analyst at a major bank who
 7    Mr. Krebs spoke with said that before the Target data breach was confirmed he had
 8    already bought a large number of his customers’ cards through an online store for stolen
 9    and debit and credit cards. Because all of the cards he bought were used at Target he
10    confirmed that his customers had their data breached after shopping at Target. Mr. Krebs
11    also spoke to a fraud investigator at a different bank who had also bought back hundreds
12    of the bank’s customer’s cards that were involved in the Target data breach on the black
13    market. Mr. Krebs also reported that the underground websites where stolen cards are
14    sold are sophisticated and that purchasers can even choose cards based on zip codes so
15    that they can use the card in the same geographic area as the cardholder in order to avoid
16    setting off bank fraud alerts. Mr. Krebs was not able to identify who was behind the
17    Target data breach, although he was able to trace one stolen card website that was selling
18    stolen Target information back to a man who lives in Ukraine.
19           11.   Target later announced on January 10, 2013 that the breach also involved the
20    names, mailing addresses, phone numbers or email addresses of a second group
21    consisting of up to 70 million people. Target said that the data breach was not a new data
22    breach, but was uncovered as part of the ongoing investigation into the breach.
23           Retail Data Security Standards
24           12.   The Payment Card Industry (“PCI”) Data Security Standard is the industry
25    standard for how retailers like Target must secure credit and debit card data. The PCI
26    Security Standards Council is the organization that publishes the standards and was
27    created by the major credit card issuer companies to create uniform security standards.
28    Major credit card companies like Visa and MasterCard require that merchants that accept


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 1    their credit and debit cards comply with PCI standards. Target breached numerous PCI
 2    standards that resulted in the data breach of this size and scope.
 3          13.      PCI standards are built around a core set of security goals and have detailed
 4    instructions for compliance within each requirement. The 12 requirements and goals PCI
 5    compliance are:
 6              Goals                               PCI DSS Requirements
 7     Build and Maintain a         1. Install and maintain a firewall configuration to protect
       Secure                         cardholder data
 8     Network                      2. Do not use vendor-supplied defaults for system
 9                                    passwords and other security parameters
10     Protect Cardholder Data 3. Protect stored cardholder data
11                             4. Encrypt transmission of cardholder data across open,
                                 public networks
12
       Maintain a Vulnerability 5. Use and regularly update anti-virus software or
13
       Management Program         programs
14                              6. Develop and maintain secure systems and
15
                                  applications

16
       Implement Strong             7. Restrict access to cardholder data by business need to
       Access                         know
17     Control Measures             8. Assign a unique ID to each person with computer
18                                    access
                                    9. Restrict physical access to cardholder data
19
20     Regularly Monitor and        10. Track and monitor all access to network resources
       Test                           and cardholder data
21
       Networks                     11. Regularly test security systems and processes
22
       Maintain an Information 12. Maintain a policy that addresses information
23
       Security Policy           security for all personnel
24
25    Complying with these standards is critical to protecting customer debit and credit
26    information.
27          14.      Security systems experts have stated in the news media that the Target data
28    breach would not have been possible if Target had complied with PCI standards. Ken


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 1    Stasiak, CEO of SecureState stated: "For a hacker to be able to infiltrate Target's network
 2    and access the POS application, several PCI-DSS and PA-DSS controls must not have
 3    been implemented effectively. Thus, Target was not compliant during the time of the
 4    breach.”
 5          15.     Target admitted that the full track data, including CVV codes, of Target
 6    members was stolen in the Target data breach. However, the PCI Standards manual
 7    instructs that merchants must not: “store the full contents of any track (from the magnetic
 8    stripe located on the back of a card, equivalent data contained on a chip, or elsewhere).”
 9    PCI Standards, 2.0, Requirement 3.2.1, p. 29. John Kindervag, the Vice President and
10    Principal Analyst, of Forrester Research stated: “The fact that three-digit CVV security
11    codes were compromised shows they were being stored. Storing CVV codes has long
12    been banned by the card brands and the PCI SSC.” He also stated that it was not possible
13    yet to know exactly where Target’s system failed, but that it was clear by the fact that
14    CVV codes were stolen that Target “demonstrated a blatant disregard for PCI DSS
15    compliance regulations as well as card security best practices.”
16          16.     Furthermore, the fact that thieves were able to take the debit and credit card
17    information of 40 million people who shopped at Target over a period of 19 days shows
18    that Target did not properly monitor their security systems for breaches. PCI standards
19    require companies to monitor all system components at least daily. PCI Standards,
20    Version 2.0, Requirement 10.6, p. 58. Nick Aceto, technology director at software
21    vendor CardConnect stated:
22             We can't say definitely that this breach is a failure of Target's PCI
               compliance, but based on what Target has said, it's very hard to
23             believe that they were even PCI 2.0 compliant at the time of the
               breach.
24
                  A reason for thinking this is that the attack, involving an enormous
25                amount of data, went on essentially unnoticed for 18 days. How were
                  they not watching the network?
26
                  One of the PCI DSS requirements is that you monitor your logs and
27                firewalls every day, looking for unusual activity. This monitoring
                  involves file integrity checks and changes to critical systems files.
28                What's more – the chapter 6 software development life cycle requires
                  the secure distribution and verification of payment applications.

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 1               Unusual activity isn't always abnormal, but the point of PCI is to
                 monitor and verify that all activity is normal, while not letting
 2               distractions – like busy shopping days Black Friday and Cyber
                 Monday, on which the breach occurred – detract from the monitoring
 3               effort.
 4         17.     James Lyne, global head of security research at Sophos also stated that if
 5   Target was properly monitoring their systems they should have detected that such a large
 6   amount of data was being exported, and that no one user or process should have been
 7   able to have access to all of the data. Mr. Lyne stated: "It is critical that organizations
 8   handling such data take steps to protect it -- such large volumes of data should never be
 9   accessible by one user or process -- and should be encrypted to segment the data and
10   should be detected if an export of such size occurs."
11         18.     The PCI Council has stated that it is ultimately the retailer’s responsibility to
12   make sure that it is in compliance with PCI standards. Bob Russo, the general manager
13   of the PCI Standard Council stated that: “It's up to the merchant to make sure they stay in
14   compliance and that they are secure. For each of those [big public] breaches credit card
15   companies looked at the logs [and found] that none of them was compliant at the time of
16   the breach.” He also stated: “A layered approach to security is absolutely necessary to
17   protect sensitive payment card data – without ongoing vigilance or a comprehensive
18   security strategy, organizations may be just a change control away from noncompliance.
19   Organizations must make protecting cardholder data a daily priority, not a one-time
20   exercise.” Mr. Russo has also said that when merchants have their PCI compliance
21   audited it just shows “a snapshot in time.” He went on to say, “You could be compliant
22   and five minutes later you don't apply a patch and you aren't compliant anymore.”
23         19.     Furthermore, it is commonly recognized in the security industry that PCI
24   compliance is only the starting point for taking reasonable security measures to protect
25   credit and debit card data. Mr. Russo, manager of the PCI Standard Council stated, “It’s
26   important to remember that the PCI [standard] is the floor for card data security, not the
27   ceiling.” Michael Maloof, Chief Technology Officer of TriGeo Network Security stated,
28   "Any business foolish enough to simply make compliance their only security goal has


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 1   made a serious, and sometimes fatal, mistake.” He also stated, "Companies have
 2   embraced the intent of the regulations and have accepted the responsibility to secure their
 3   networks, train their employees and maintain a state of vigilance to ensure their systems
 4   remain secure. Other companies see PCI as yet another tax on their businesses and do
 5   everything they can to pay as little as possible-that is, until they are forced to pay for the
 6   consequences." Given that the data from 40 to 110 million accounts over a period of 19
 7   days was stolen, it is clear that Target failed to maintain a state of vigilance over its
 8   security system and did not comply with PCI standards.
 9         20.    As a consequence of the data breach, Target customers have had to spend
10   time and money securing their accounts and protecting their identities. Target customers
11   who have unauthorized purchases may have to pay fees to their banks to pay for new
12   debit or credit cards, or have to pay fees to have the cards shipped faster so that they do
13   not have to wait weeks to make purchases on their accounts. Target customers also have
14   had to pay for credit monitoring or credit reports in the wake of the data breach to make
15   sure that their credit is not harmed by anyone who may have stolen their information.
16         21.    The Target breach occurred right during the busiest shopping time of the
17   year, when many customers were in the middle of holiday shopping and traveling for the
18   holidays. Many people who were affected by the data breach lost access to their debit
19   and credit cards, and had to wait for their banks to send them new cards. Some
20   customers were unable to complete their Christmas shopping or had to change or cancel
21   holiday plans because they could not access their funds. Likewise some Target
22   customers have lost wages from spending hours on the phone or in person with banks and
23   credit agencies trying to reverse unauthorized charges, clear up credit issues, and order
24   new cards.
25                                 PLAINTIFFS’ EXPERIENCE
26         Plaintiff Thomas Dorobiala
27         22.    Mr. Dorobiala has debit and credit cards with Navy Federal Credit Union,
28   and also has a Target RED card that is linked to his bank account. Mr. Dorobiala made a


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 1   purchase at Target in Murrieta, California with his Navy Federal Credit Union Visa card
 2   on December 2, 2013. Around December 9, 2013, he received a text message from his
 3   bank that there were suspicious charges to his account. He called his bank and found out
 4   that someone had stolen his information and had made purchases of over $600. His debit
 5   card was charged $4.80 in Brier Hill, Pennsylvania, $7.50 in Altmar, New York, and
 6   $617.88 in London, England. The charges were not authorized by Mr. Dorobiala. He
 7   was able to get the charges reversed, but he had to spend several hours checking his
 8   accounts to make sure that there were no other fraudulent charges, pulling his credit
 9   reports, speaking with his bank about reversing the charges, and reordering his cards.
10         23.    Mr. Dorobiala is cautious about protecting his identity, and is not aware of
11   being a victim of identity theft in the past. After having his card information stolen he
12   paid $4.95 for one month of Experian’s credit monitoring service, which will increase to
13   $14.95 a month going forward. Mr. Dorobiala is also at risk for future identity fraud due
14   to Target’s data breach.
15         Plaintiff Robin Westmoreland
16         24.    Robin Westmoreland shopped at Target three times in Hanford, California
17   during the time period when Target’s data was breached. She used her MasterCard debit
18   card through USAA bank. On January 4, 2013 Ms. Westmoreland received the following
19   email from her bank:
20         We were notified by MasterCard® that your USAA debit card information, such as
           your name, debit card number and expiration date, have been compromised.
21         Unauthorized access ®to this information occurred between Nov. 27 and Dec. 15,
           2013, through Target , a national retailer — USAA's systems were not involved.
22
23         25.    Ms. Westmoreland’s bank ordered her a new debit card to replace her card
24   that was compromised in the Target data breach. Ms. Westmoreland ordered her credit
25   report and discovered that 17 lines of credit and two new debit cards were opened in her
26   name. Someone also attempted to change the email address her bank had on file for her
27   account and contacted the post office to stop her mail, presumably so that she would not
28   receive statements or correspondence about accounts opened in her name.


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 1         26.    Because of the data breach, Ms. Westmoreland paid $24.95 to pull her credit
 2   reports and began paying $12.95 a month for a credit monitoring service. She also lost
 3   wages when she had to take time off of work to speak with her bank and clear up her
 4   credit. Ms. Westmoreland remains at future risk for identity fraud. When Ms.
 5   Westmoreland reported the identity theft to her homeowner’s insurance company the
 6   insurance representative warned her that she is at risk for future identity fraud, and that it
 7   is even possible in the future that someone could have warrants for arrest under her name.
 8                               CLASS ACTION ALLEGATIONS
 9         27.    Plaintiff Robin Westmoreland and Plaintiff Thomas Dorobiala bring this
10   action pursuant to Federal Rule of Civil Procedure 23 on behalf of themselves and a class
11   preliminarily defined as:
12        All persons or entities who made purchases with a debit or credit card at a Target
          store located in the United States between November 27, 2013 and December 15,
13        2013.
14   Excluded from the class are Target; any agent, affiliate, parent, or subsidiary of Target;
15   any entity in which Target has a controlling interest; any officer or director of Target; any
16   successor or assign of Target; anyone employed by counsel for Plaintiffs in this action;
17   and any Judge to whom this case is assigned, as well as his or her staff and immediate
18   family.
19         28.    Plaintiffs satisfy the numerosity, commonality, typicality, and adequacy
20   prerequisites for suing as a representative party pursuant to Rule 23.
21         29.    Numerosity. Over 40 million customers nationwide and their data stolen in
22   the Target data breach. Therefore, the proposed class contains far too many to join in a
23   single action.
24         30.    Commonality. Plaintiffs’ and class members’ claims raise predominantly
25   common factual and legal questions that can be answered for all class members through a
26   single class-wide proceeding. For example, to resolve any class member’s claims, it will
27   be necessary to answer the following questions. The answer to each of these questions
28   will necessarily be the same for each class member.


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 1         a.     Did Target have a legal duty to use reasonable security measures to protect
 2   class members’ credit and debit card information?
 3         b.     Did Target breach its legal duty by failing to protect class members’ credit
 4   and debit card information?
 5         c.     Did Target act reasonably in securing its customer data?
 6         d.     Did Target violate the California Data Breach Act by failing to provide
 7   reasonable measures to secure the debit and credit card data of its customers?
 8         e.     Did any breach of Target’s legal duties cause Plaintiffs and the class
 9   members to suffer damages?
10         f.     Are Plaintiffs and class members entitled to damages or equitable relief?
11         31.    Typicality. Plaintiffs’ claims are typical of class members’ claims as each
12   arises from the same data breach and the same alleged negligence on the part of Target in
13   securing its customers’ credit and debit card information.
14         32.    Adequacy. Plaintiffs will fairly and adequately protect the interests of the
15   class. Their interests do not conflict with class members’ interests and they have retained
16   counsel experienced in complex class action litigation and data privacy to vigorously
17   prosecute this action on behalf of the class.
18         33.    In addition to satisfying the prerequisites of Rule 23(a), Plaintiffs satisfy the
19   requirements for maintaining a class action under Rule 23(b)(3). Common questions of
20   law and fact predominate over any questions affecting only individual members and a
21   class action is superior to individual litigation. The amount of damages available to
22   individual plaintiffs is insufficient to make litigation addressing Target’s conduct
23   economically feasible in the absence of the class action procedure.
24         34.    In the alternative, class certification is appropriate under Rule 23(b)(2)
25   because Defendant has acted or refused to act on grounds generally applicable to the
26   class, thereby making final injunctive relief appropriate with respect to the members of
27   the class as a whole.
28


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 1                                 FIRST CAUSE OF ACTION
                                        For Negligence
 2
 3         35.    Plaintiffs incorporate the above allegations by reference.
 4         36.    In collecting the debit and credit card information of its customers, Target
 5   owed Plaintiffs and class members a duty to employ reasonable security measures to
 6   protect that information.
 7         37.    Target had a duty of care to take reasonable security measures to protect its
 8   customer data because of its special relationship with Plaintiffs and the Class. Target has
 9   a special relationship with Plaintiff and the Class for the following reasons:
10         a)     Target’s security system and procedures for handling the debit and credit
11   card information of its customers were intended to affect Plaintiffs and the Class. Target
12   was aware that by taking the debit and credit card information of its customers that it had
13   a responsibility to take reasonable security measures to protect the data from being stolen.
14         b)     It was very foreseeable that if Target did not take reasonable security
15   measures that the data of Plaintiffs and the Class would be stolen. It is well known in the
16   retail industry that there are people who use malicious software to steal the debit and
17   credit card information of retail customers.
18         c)     It is clear that Plaintiffs and the Class suffered injuries because they had to
19   purchase credit monitoring services and credit reports.
20         d)     There is a very close connection between Target’s failure to take reasonable
21   security standards to protect its customers’ data and the injury to Plaintiffs and the Class.
22   When customers have their debit and credit card information stolen they are at risk for
23   identity theft, and need to buy credit monitoring services and purchase credit reports to
24   protect themselves from identity theft.
25         e)     Target is morally to blame for not protecting the data of its customers by
26   failing to take reasonable security measures. If Target had taken reasonable security
27   measures data thieves would not have been able to take the debit and credit card
28   information of over 40 million accounts of Target shoppers over a 19 day period.


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 1         f)     The policy of preventing future harm weighs in favor of finding a special
 2   relationship between Target and the Class. Customers count on Target to keep their data
 3   safe. If companies are not held accountable for failing to take reasonable security
 4   measures to protect customers’ debit and credit card information, they will not take the
 5   steps that are necessary to protect against future data breaches.
 6         38.    Target failed to secure its customers’ data, and monitor its point of sale
 7   systems to identify suspicious activity. In failing to employ take reasonable security
 8   measures, Target departed from the reasonable standard of care and violated its duty to
 9   protect Plaintiffs’ and class members’ debit and credit card information.
10         39.    As a direct and proximate result of Target’s failure to exercise reasonable
11   care and use commercially reasonable security measures, the debit and credit information
12   of Target customers was accessed by unauthorized individuals who could use the
13   information to commit debit and credit card fraud.
14         40.    The unauthorized access to Plaintiffs’ and class members’ personal
15   information was reasonably foreseeable by Target.
16         41.    Neither Plaintiffs nor other class members contributed to the security breach
17   or Target’s employment of insufficient security measures to safeguard customer’s debit
18   and credit card information.
19         42.    As a direct and proximate result of Target’s negligence, Plaintiffs and class
20   members suffered injury through the breach of their debit card and credit card
21   information. Plaintiffs and the class face a heightened risk of identity theft in the future.
22   Class members, including Plaintiffs, also have suffered economic damages, including the
23   cost of credit monitoring service and the expense of purchasing credit reports.
24                                 SECOND CAUSE OF ACTION
      For Violations of the California Data Breach Act, Cal. Civ. Code § 1798.80, et. seq.
25
26         43.    Plaintiffs reallege, as if fully set forth, each and every allegation herein.
27         44.    Plaintiffs bring this cause of action on behalf of all California residents and
28   entities who shopped at Target between November 27, 2013 and December 15, 2013.


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 1         45.      The breach of the data of the debit and credit card information of 40 million
 2   accounts of Target customers constituted a “breach of the security system” of Target
 3   pursuant to Cal. Civ. Code §1798.82(g).
 4         46.      Target unreasonably delayed informing Plaintiff and members of the Class
 5   about the breach of security of Class members’ debit and credit card information after
 6   Target knew the data breach occurred.
 7         47.      Upon information and belief, no law enforcement agency instructed Target
 8   that notification to Plaintiffs and Class members would impede investigation.
 9         48.      Target’s failure to inform Plaintiffs and the Class within a reasonable time
10   period was willful, intentional, and reckless. Target contacted credit card issuers about
11   the breach before December 19, 2013, but Target willfully, intentionally, and recklessly
12   failed to inform Plaintiffs and the Class about the breach until after it was announced in
13   the press. Target could have informed Plaintiffs and the Class about the breach when it
14   started contacting credit card issuers, but instead chose to withhold this information from
15   Plaintiffs and the class.
16         49.      Under Cal. Civ. Code § 1798.81.5(b), a business that has personal
17   information about a California resident “shall implement and maintain reasonable
18   security procedures and practices appropriate to the nature of the information, to protect
19   the personal information from unauthorized access, destruction, use, modification, or
20   disclosure.”
21         50.      Cal. Civ. Code § 1798.81.5(d)(1)(C) includes debit and credit card
22   information in the definition of “personal information.”
23         51.      Target recklessly, or as a matter of gross negligence, failed to provide
24   reasonable and adequate security measures to protect its customer’s credit and debit card
25   information.
26         52.      As a result of Target’s violation of Cal. Civ. Code § 1798.82 and§
27   1798.81.5(b), Plaintiffs and members of the Class incurred economic damages relating to
28   expenses for credit monitoring and purchasing credit reports.


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 1          53.   Plaintiffs, individually and on behalf of the members of the Class, seek all
 2   remedies available under Cal. Civ. Code § 1798.84, including, but not limited to: (a)
 3   damages suffered by members of the Class; (b) statutory damages for Target’s willful,
 4   intentional, and/or reckless violation of Cal. Civ. Code § 1798.83; and (c) equitable relief.
 5          54.   Plaintiffs, individually and on behalf of the members of the Class, also seeks
 6   reasonable attorneys’ fees and costs under Cal. Civ. Code § 1798.84(g).
 7
                                    THIRD CAUSE OF ACTION
 8                For unlawful, unfair, and fraudulent business practices under
                    California Business and Professions Code § 17200, et seq.
 9
10          55.   Plaintiffs reallege, as if fully set forth, each and every allegation herein.
11          56.   Plaintiffs bring this cause of action on behalf of all California residents and
12   entities who shopped at Target between November 27, 2013 and December 15, 2013.
13          57.   Target’s acts and practices, as alleged in this complaint, constitute unlawful
14   and unfair business practices, in violation of the Unfair Competition Law, Cal. Bus. &
15   Prof. Code § 17200, et seq.
16          58.   Target’s acts and practices, as alleged in this complaint, constitute unlawful
17   practices in that they violate the California Data Breach Act, Cal. Civ. Code § 1798.80,
18   et. seq.
19          59.   Target’s practices were unlawful and in violation of Cal. Civ. Code §
20   1798.81.5(b) of the California Data Breach Act because Target failed to take reasonable
21   security measures in protecting its customers’ data.
22          60.   Target’s practices were also unlawful and in violation of Cal. Civ. Code §
23   1798.82 because Target unreasonably delayed informing Plaintiffs and members of the
24   Class about the breach of security after Target knew the data breach occurred.
25          61.   Target’s practices were also unlawful because Target was negligent in
26   failing to take reasonable security measures to protect the debit and credit card
27   information of its customers.
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 1         62.    By failing to take reasonable security measures to protect its customers’
 2   data, Target engaged in unfair business practices by engaging in conduct that undermines
 3   or violates the stated policies underlying the California Data Breach Act. The California
 4   Data Breach Act states that, “It is the intent of the Legislature to ensure that personal
 5   information about California residents is protected. To that end, the purpose of this
 6   section is to encourage businesses that own or license personal information about
 7   Californians to provide reasonable security for that information.” Cal. Civ. Code §
 8   1798.81.5(a). Target’s failure to take reasonable security measures to protect its
 9   customers’ data violates the stated policy of the Legislature in that businesses are to
10   protect the personal information of their customers.
11         63.    In unduly delaying informing customers of the data breach, Target engaged
12   in unfair business practices by engaging in conduct that undermines or violates the stated
13   policies underlying the California Data Breach Act. In enacting the California Data
14   Breach Act, the Legislature stated that: “[i]dentity theft is costly to the marketplace and
15   to consumers” and that “victims of identity theft must act quickly to minimize the
16   damage; therefore expeditious notification of possible misuse of a person's personal
17   information is imperative.” 2002 Cal. Legis. Serv. Ch. 1054 (A.B. 700) (WEST). Target
18   unduly delayed informing customers of the data breach. For instance, Target notified
19   credit card issuers when it first learned of the breach, but did not inform its customers of
20   the breach until it was announced in the news media. Target’s failure to notify class
21   members expeditiously about the breach violated the policy intent of the legislature in
22   enacting the California Data Breach Act.
23         64.    As a direct and proximate result of Target’s unlawful and unfair business
24   practices as alleged herein, Plaintiffs and Class members have suffered injury in fact.
25   Plaintiffs and the Class have been injured in that they have had to purchase credit
26   monitoring services and credit reports because they are at risk for future identity theft.
27         65.    Because of Target’s unfair and unlawful business practices, Plaintiffs and
28   Class members are entitled to equitable relief, restitution, attorneys’ fees and costs,


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 1   declaratory relief, and a permanent injunction enjoining Target from its unlawful and
 2   unfair practices. Plaintiffs seek an injunction requiring Target to take reasonable security
 3   measures to ensure that customers’ data in compliance with the Data Breach Act.
 4    Plaintiffs can provide specific data security measures for the injunction after discovery is
 5   taken and data security experts are consulted.
 6                                       PRAYER FOR RELIEF
 7            WHEREFORE, Plaintiffs, individually and on behalf of the Class, requests that the
 8   Court:
 9            a.    Certify this case as a class action on behalf of the class defined above,
10                  appoint Robin Westmoreland and Thomas Dorobiala as class
11                  representatives, and appoint their counsel as class counsel;
12            b.    Award injunctive and other equitable relief as is necessary to protect the
13                  interests of Plaintiffs and other class members;
14            c.    Award damages to Plaintiffs and class members in an amount to be
15                  determined at trial;
16            d.    Award Plaintiffs and class members their reasonable litigation expenses and
17                  attorneys' fees;
18            e.    Award Plaintiffs and class members pre- and post-judgment interest, to the
19                  extent allowable; and
20            f.    Award such other and further relief as equity and justice may require.
21                                             JURY TRIAL
22            Plaintiffs demand a trial by jury for all issues so triable.
23   Dated: January 13, 2014                           GIRARD GIBBS LLP
24
25                                              By:
26                                                     Eric H. Gibbs
27
                                                Matthew B. George
28                                              Jennifer L. McIntosh


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